 Case 3:12-cv-01179-TJC-MCR Document 5 Filed 07/04/12 Page 1 of 3 PageID 20
                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS

Flava Works, Inc.,                          )
                                            )
                     Plaintiff,             )       Case No. 1:12-cv-01884
                                            )
                                            )
       v.                                   )
                                            )
Gregory Terry,                              )
                                            )
Defendant.                                  )

             PLAINTIFF, FLAVA WORKS, INC.’S, MOTION TO COMPEL

        Now comes Plaintiff, Flava Works, Inc. (hereinafter “Flava Works”), by and

 through its attorneys, Meanith Huon and The Huon Law Firm, and states as follows:

       1.     Plaintiff filed this copyright infringement case against Defendant, Gregory Terry.

       2.     Defendant has filed his Answer. (Docket No.3).

       3.     Counsel for Plaintiff has requested that counsel for Defendant engage in a FRCP

              26(f) Conference. Dates have been requested for such a conference. However,

              counsel for Defendant has never responded to the repeated request. Exhibit “A”

              and “B”.

       4.     F.R.C.P. 26(f)(1) provides as follows:

              (f) Conference of the Parties; Planning for Discovery

              (1) Conference Timing.

              Except in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B) or
              when the court orders otherwise, the parties must confer as soon as practicable —
              and in any event at least 21 days before a scheduling conference is to be held or a
              scheduling order is due under Rule 16(b).

              (2) Conference Content; Parties' Responsibilities.

              In conferring, the parties must consider the nature and basis of their claims and
              defenses and the possibilities for promptly settling or resolving the case; make or
              arrange for the disclosures required by Rule 26(a)(1); discuss any issues about
              preserving discoverable information; and develop a proposed discovery plan. The
              attorneys of record and all unrepresented parties that have appeared in the case are
  Case 3:12-cv-01179-TJC-MCR Document 5 Filed 07/04/12 Page 2 of 3 PageID 21
            jointly responsible for arranging the conference, for attempting in good faith to
            agree on the proposed discovery plan, and for submitting to the court within 14
            days after the conference a written report outlining the plan. The court may order
            the parties or attorneys to attend the conference in person

       5.      FRCP 26(f) requires that “the attorneys of record and all unrepresented parties that

               have appeared in the case are jointly responsible for arranging the conference, for

               attempting in good faith to agree on the proposed discovery plan, and for

               submitting to the court within 14 days after the conference a written report

               outlining the plan.”

       6.      Counsel for Plaintiff stated in his last communication to counsel for Defendant that

               “I am making this request pursuant to FRCP 37(a) and (f). I am acting in good

               faith to confer or attempted to confer with you to comply with FRCP 26(f).”

       7.      Counsel for Defendant has never responded.

       WHEREFORE, Plaintiff requests that this Honorable Court enter an order compelling

Counsel for Defendant to engage in a FRCP 26(f) conference.

                                             Respectfully submitted,

                                             /s/ Meanith Huon

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                                 CERTIFICATE OF SERVICE

        Under penalties of law, I attest the following documents or items have been or are being
electronically served on all counsel of record for all parties on or before July 4, 2012.


              PLAINTIFF, FLAVA WORKS, INC.’S, MOTION TO COMPEL
Case 3:12-cv-01179-TJC-MCR Document 5 Filed 07/04/12 Page 3 of 3 PageID 22
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